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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

PERKINS COIE LLP,                              NO. 1:25-cv-00716-BAH

                      Plaintiff,               AMICUS CURIAE BRIEF OF
                                               WASHINGTON, ARIZONA,
      v.                                       CALIFORNIA, COLORADO,
                                               CONNECTICUT, DELAWARE,
U.S. DEPARTMENT OF JUSTICE,                    DISTRICT OF COLUMBIA,
FEDERAL COMMUNICATIONS                         HAWAI‘I, ILLINOIS, MAINE,
COMMISSION, OFFICE OF                          MARYLAND,
MANAGEMENT AND BUDGET,                         MASSACHUSETTS,
EQUAL EMPLOYMENT                               MICHIGAN, MINNESOTA,
OPPORTUNITY COMMISSION,                        NEVADA, NEW JERSEY, NEW
OFFICE OF PERSONNEL                            MEXICO, NEW YORK,
MANAGEMENT, GENERAL                            OREGON, RHODE ISLAND,
SERVICES ADMINISTRATION,                       AND VERMONT
OFFICE OF THE DIRECTOR OF                      SUPPORTING PLAINTIFF’S
NATIONAL INTELLIGENCE, THE                     MOTION FOR A
UNITED STATES OF AMERICA, and in               TEMPORARY RESTRAINING
their official capacities, PAMELA J.           ORDER
BONDI, BRENDAN CARR, RUSSELL
T. VOUGHT, ANDREA R. LUCAS,
CHARLES EZELL, STEPHEN
EHEKIAN, and TULSI GABBARD,

                      Defendants.

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       courts and the legal profession (Mar. 3, 2025)................................... 6, 7

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       Retaliation Against Lawyers for Representing Clients (Mar. 7,
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              I.      INTRODUCTION AND INTEREST OF AMICI STATES

        Amici States of Washington, Arizona, California, Colorado, Connecticut, Delaware,

District of Columbia, Hawai‘i, Illinois, Maine, Maryland, Massachusetts, Michigan, Minnesota,

Nevada, New Jersey, New Mexico, New York, Oregon, Rhode Island, and Vermont file this brief

in support of Plaintiff’s Motion for a Temporary Restraining Order and to underscore the bedrock

rule of law principles and free speech imperatives at issue in this case. See LCvR 7(o)(1)

(permitting a state to file an amicus curiae brief without the consent of the parties or leave of

Court). We have a significant interest in protecting those principles and imperatives. We run what

are often the largest law offices in our states, in our respective attorney generals’ offices,

collectively employing thousands of attorneys. Our attorneys repeatedly appear in state and federal

courts: prosecuting criminal offenses, defending against civil lawsuits, and representing the States’

interests in affirmative litigation, including litigation challenging federal policy adopted across

multiple administrations. Amici States also have their own state court systems that hear cases

ranging from civil disputes to criminal dockets to constitutional challenges to state and federal

laws.

        Amici States therefore know from experience that our court system depends on the

willingness of lawyers to take on difficult cases and unpopular clients without retribution. “An

informed, independent judiciary presumes an informed, independent bar.” Legal Servs. Corp v.

Velazquez, 531 U.S. 533, 534 (2001). Lawyers should be driven by justice and loyalty to their

clients. When those in power demand fealty to themselves instead, the system is undermined.

        Yet the President of the United States recently issued an Executive Order singling out and

targeting a law firm, Perkins Coie LLP, for representing clients that he personally does not like.

This order runs roughshod over the First Amendment and the basic principles underlying our

adversarial justice system, and “threatens severe impairment of the judicial function.” Id. The

                                                 1
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President’s efforts do more than disadvantage private attorneys at a single law firm. Through

official action, the President has attempted to exclude certain lawyers and certain viewpoints from

reaching a court of law at all. It is a menacing message to attorneys nationwide: unless they

advance positions or represent clients favorable to the current administration, their livelihood may

be at risk and their patriotism will be called into question. The Supreme Court has made clear that

“[l]imiting speech based on its ‘topic’ or ‘subject’ favors those who do not want to disturb the

status quo.” Reed v. Town of Gilbert, 576 U.S. 155, 174 (2015) (Alito, J., concurring). In this case,

that is clearly the President’s goal: “to insulate the Government’s laws from judicial inquiry.”

Velazquez, 531 U.S. at 534.

        This Court cannot allow the President’s campaign of personal and political retribution to

cut off effective advocacy. Such actions undercut our system of justice itself. Clients are entitled

to the counsel of their choice, and for their interests to be represented as effectively as possible,

regardless of whether those interests are popular or whether they align with those of state or federal

governments. Indeed, Perkins Coie has filed lawsuits against Washington, one of the Amici States

here, including challenges to the validity of our state laws. Amici States nonetheless know the

importance of ensuring the continued vitality of these principles. We know that ensuring that all

sides of a case are represented effectively, so courts can reach fair and reasoned decisions, is crucial

for litigants, for judges, and for the judicial system. The President’s Executive Order challenged

here presents dangerous incentives to lawyers to quiet their voices, limit their arguments, or forgo

the legal process at all.

        Amici States urge the Court to grant Plaintiff Perkins Coie’s request for a temporary

restraining order to stop this illegal action.




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                                       II.     ARGUMENT

       Amici States know that the principle that every person deserves competent legal

representation is nonpartisan, longstanding, and fundamental to the rule of law. And it applies just

as strongly when the clients and interests represented are unpopular, controversial, or opposed to

the government. Our commitment to this principle is deeply rooted in our Nation’s history,

exemplified by John Adams’s defense of British soldiers in the Boston Massacre murder trial, Abe

Fortas’s willingness to represent an indigent habeas corpus petitioner named Clarence Earl Gideon,

and Samuel Leibowitz’s commitment to work four years without pay on behalf of nine Black

teenagers accused of rape in Scottsboro, Alabama. This principle has come to define the American

legal system and lawyers’ obligations to their clients. As the New York State Bar Association

Committee on Attorney Professionalism recently wrote: “One of the signal achievements of the

American legal profession is that the profession as a whole has been successful in making

representation available to everyone who needs it, even the deeply despised, and it is unquestioned

that once a lawyer undertakes to represent a client, the lawyer has a duty to do so diligently and

competently.” 1

       The President’s Executive Order turns this principle on its head, punishing Perkins Coie

for taking cases the administration disagrees with. The Order attacks core political speech,

including the firm’s representation of President Trump’s former opponent in the 2016 presidential

election, Hillary Clinton. It singles out the firm’s defense of particular viewpoints, such as bringing

challenges to voter-identification and other election laws. It denigrates the firm’s own employee

initiatives to support diversity in the workplace. It impairs the firm’s ability to practice law by


       1
         New York State Bar Ass’n, Report and Recommendations of the Committee on Attorney
Professionalism (Jan. 2025), https://nysba.org/new-york-state-bar-association-condemns-
executive-orders-punishing-lawyers-for-representing-causes-the-trump-administration-doesnt-
like/.

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suspending its lawyers’ security clearances and denying them access to government buildings and

officials. And it does all this without affording Perkins Coie notice or an opportunity to respond.

Exec. Order No. 14230, 90 Fed. Reg. 11,781, § 1 (Mar. 6, 2025). 2 An accompanying fact sheet

makes clear the President “will not tolerate” various actions, including that Perkins Coie “has filed

lawsuits against the Trump Administration.” The White House, Fact Sheet: President Donald

Trump Addresses Risks from Perkins Coie LLP (Mar. 6, 2025). 3

       The Executive Order repudiates the time-honored tradition that, as lawyers across the

political spectrum have recognized, the justice system functions best when there is zealous, high-

quality advocacy on all sides. In 2007, a senior Department of Defense official resigned after

criticizing law firms who represented Guantanamo Bay detainees. 4 In his apology to the law firms

in question, he said, “I believe firmly that a foundational principle of our legal system is that the

system works best when both sides are represented by competent legal counsel” and “that our

justice system requires vigorous representation.” 5 This sentiment was echoed in a different

political context by then-Attorney General Eric Holder in defense of former U.S. Solicitor General

Paul Clement, who resigned from his law firm to continue defending the Defense of Marriage

Act—defining marriage as being between a man and a woman—after his firm and the U.S.

Department of Justice withdrew from defending the law. Holder said that, as with those

government lawyers who previously represented Guantanamo detainees, Clement—by taking on




       2
           Available at: https://www.whitehouse.gov/presidential-actions/2025/03/addressing-
risks-from-perkins-coie-llp/.
        3
           Available at: https://www.whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-
donald-j-trump-adresses-risks-from-perkins-coie-llp/.
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          Sarah Abruzzese, Official Quits After Remark on Lawyers, N.Y. Times (Feb. 3, 2007),
https://www.nytimes.com/2007/02/03/washington/03gitmo.html.
        5
          Cully Stimson, An Apology to Detainees’ Attorneys, Wash. Post (Jan. 17, 2007),
https://www.washingtonpost.com/wp-dyn/content/article/2007/01/16/AR2007011601383.html.

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an unpopular cause—was “doing that which lawyers do when we are at our best.” 6 Clement made

the same comparison: “It’s not that different from representing Guantanamo detainees. This isn’t

a left or right issue; it’s something lawyers should stand together on . . . . Defending unpopular

positions is what lawyers do.” 7

        By contrast, the Executive Order rejects these fundamental principles and retaliates against

Perkins Coie for representing clients and ideas with which the current administration disagrees.

Amici States know the importance of these principles to a fair and functioning legal system. We

are repeat litigants in state and federal courts, and we support independent state court systems.

Indeed, Perkins Coie, which is headquartered in Seattle, has represented clients in filing lawsuits

against some of the Amici States, including challenges to the validity of State laws and the

interpretation of State constitutional provisions. But while our positions in litigation may differ,

the states, the courts, and the public all benefit when all sides to a dispute are effectively

represented. We know from experience that when a government’s positions are challenged in

court, the best response is a vigorous legal defense—not to attack or punish the law firms willing

to mount the challenge. And some types of lawyering, including public defense, already face a

recruitment crisis, particularly in rural areas. 8 Eroding the American value that all clients deserve

effective representation—and that lawyers should not be attacked for providing it—will only

exacerbate this state of affairs.



        6
          Jeffrey Goldberg, When Lawyers Aren’t Allowed to Defend Unpopular Positions, The
Atlantic (May 5, 2011), https://www.theatlantic.com/national/archive/2011/05/when-lawyers-
arent-allowed-to-defend-unpopular-positions/238315/.
        7
          Natalie Singer, ‘Defending unpopular positions is what lawyers do’ says Paul Clement
’92, Harvard Law Bulletin (Jan. 31, 2012), https://hls.harvard.edu/today/defending-unpopular-
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          See Colin Rigley, Confronting a Crisis: The State of Public Defense, NW Sidebar (Jan.
29,     2024),     https://nwsidebar.wsba.org/2024/01/29/confronting-a-crisis-the-state-of-public-
defense/; U.S. Dep’t of Justice, Office of Access to Justice, Fact Sheet: Access to Justice is Rural
Access (Feb. 20, 2025), https://www.justice.gov/atj/fact-sheet-access-justice-rural-access.

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       Legal professional organizations around the country agree that strong advocacy reinforces

public trust in the legal system and helps prevent injustice by ensuring fair and informed legal

decisions. Threats to lawyers, law firms, or the judiciary undermine these values and constitute

assaults on the rule of law itself. Recognizing these dangers, legal professional organizations have

reaffirmed their commitment to the rule of law and condemned government actions that seek to

undermine it. 9 Their statements reinforce that the rule of law “is a central pillar of any democratic

government,” 10 “essential for maintaining a just society,” 11 and “essential to the functioning of our

democratic society, justice, and the protection of individual rights and liberties.” 12 They emphasize



       9
           See, e.g., American Bar Ass’n, The ABA rejects efforts to undermine the courts and the
legal profession (Mar. 3, 2025), https://www.americanbar.org/news/abanews/aba-news-
archives/2025/03/aba-rejects-efforts-to-undermine-courts-and-legal-profession/;            American
College of Trial Lawyers, ACTL Opposes Government Retaliation Against Lawyers for
Representing Clients (Mar. 7, 2025), https://www.actl.com/news/actl-opposes-government-
retaliation-against-lawyers-for-representing-clients/; Susan DeSantis, New York State Bar
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condemns-executive-orders-punishing-lawyers-for-representing-causes-the-trump-
administration-doesnt-like/; Maine State Bar Ass’n, Statement on Rule of Law from MSBA
Leadership (Feb. 24, 2025), https://www.mainebar.org/news/694579/Statement-on-Rule-of-Law-
From-MSBA-Leadership.htm; Vermont Bar Ass’n, Board of Managers Issues Statement in
Support of Rule of Law (Feb. 27, 2025), https://www.vtbar.org/board-of-managers-issues-
statement-in-support-of-rule-of-law/; Rhode Island Bar Ass’n, Statement of RIBA President
Christopher S. Gontarz Related to Attacks on Chief Judge John J. McConnell, Jr. of the United
States District Court for the District of Rhode Island, https://ribar.com/news/article/7892;
Connecticut Bar Ass’n, A Message from the CBA Leadership on Judicial Independence (Feb. 11,
2025), https://www.ctbar.org/news/cba-news/latestnews/cba-news/news/2025/02/11/a-message-
from-the-cba-leadership-2-11-2025; Delaware Bar Ass’n, The Delaware Bar Stands with the
Delaware Judiciary, https://www.dsba.org/ (last visited Mar. 11, 2025); Illinois State Bar Ass’n,
Illinois State Bar Association Statement Upholding Judicial Independence and the Rule of Law
(Feb.        21,       2025),    https://www.isba.org/barnews/2025/02/illinoisstatebarassociation
statementupholdingjudic; Iowa State Bar Ass’n, President’s Letter (Feb. 18, 2025),
https://www.iowabar.org/?pg=IowaBarBlog&blAction=showEntry&blogEntry=120588.
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            American College of Trial Lawyers, ACTL Opposes Government Retaliation Against
Lawyers for Representing Clients (Mar. 7, 2025), https://www.actl.com/news/actl-opposes-
government-retaliation-against-lawyers-for-representing-clients/.
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            Rhode Island Bar Ass’n, Statement of RIBA President Christopher S. Gontarz Related
to Attacks on Chief Judge John J. McConnell, Jr. of the United States District Court for the District
of Rhode Island, https://ribar.com/news/article/7892.
         12
            Vermont Bar Ass’n, Board of Managers Issues Statement in Support of Rule of Law
(Feb. 27, 2025), https://www.vtbar.org/board-of-managers-issues-statement-in-support-of-rule-
of-law/.

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the need for lawyers to “perform their ethical duty without fear of retribution,” 13 to “advocate for

all causes, to represent those in need of representation, and to challenge government actions that

may violate statutory and constitutional norms.” 14 They caution that vilifying lawyers and law

firms for representing various causes “threaten[s] to upend a bedrock principle of the American

legal system” and undermines our system of justice. 15 And they stress that government actions

denying clients access to justice “betray our fundamental values.” 16 As the New York State Bar

Association warns, “[i]f all members of our society do not have access to justice, there is no

justice.” 17

        Targeting lawyers and law firms for representing unpopular clients or legal positions

violates the law and can have cascading effects. When speaking out about attempts to intimidate

judges, Chief Justice John Roberts recognized that “[p]ublic officials . . . should be mindful that

intemperance in their statements when it comes to judges may prompt dangerous reactions by

others.” 18 As with judges, no lawyer should have to fear for their safety or livelihood for carrying

out their ethical duties to vigorously represent their client. Concerns about retaliation may cause



        13
           American Bar Ass’n, The ABA rejects efforts to undermine the courts and the legal
profession     (Mar.     3,    2025),     https://www.americanbar.org/news/abanews/aba-news-
archives/2025/03/aba-rejects-efforts-to-undermine-courts-and-legal-profession/.
        14
           American College of Trial Lawyers, ACTL Opposes Government Retaliation Against
Lawyers for Representing Clients (Mar. 7, 2025), https://www.actl.com/news/actl-opposes-
government-retaliation-against-lawyers-for-representing-clients/.
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           Susan DeSantis, New York State Bar Association Condemns Executive Orders Punishing
Lawyers for Representing Causes the Trump Administration Doesn’t Like (Mar. 10, 2025),
https://nysba.org/new-york-state-bar-association-condemns-executive-orders-punishing-lawyers-
for-representing-causes-the-trump-administration-doesnt-like/.
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           American Bar Ass’n, The ABA rejects efforts to undermine the courts and the legal
profession     (Mar.     3,    2025),     https://www.americanbar.org/news/abanews/aba-news-
archives/2025/03/aba-rejects-efforts-to-undermine-courts-and-legal-profession/.
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           Susan DeSantis, New York State Bar Association Condemns Executive Orders Punishing
Lawyers for Representing Causes the Trump Administration Doesn’t Like (Mar. 10, 2025),
https://nysba.org/new-york-state-bar-association-condemns-executive-orders-punishing-lawyers-
for-representing-causes-the-trump-administration-doesnt-like/.
        18
            Chief Justice Roberts, 2024 Year End Report on the Federal Judiciary,
https://www.supremecourt.gov/publicinfo/year-end/2024year-endreport.pdf.

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some lawyers to be unwilling to take on certain cases or clients altogether. And as the Supreme

Court has observed, “under the conditions of modern government, litigation may well be the sole

practicable avenue open to a minority to petition for redress of grievances.” NAACP v. Button, 371

U.S. 415, 430 (1963). While government officials may dislike being the subject of criticism by

lawyers in court, they may not use their power to punish or deter such speech. The right to verbally

oppose government action without reprisal “is one important characteristic by which we

distinguish ourselves from a police state.” City of Houston v. Hill, 482 U.S. 451, 463 (1987).

        To be sure, lawyers do not always live up to their ethical and professional responsibilities.

When lawyers (including lawyers for state and federal governments) are accused of misconduct,

including pursuing frivolous litigation, courts may order sanctions; when the rules of professional

conduct are violated, lawyers may be subject to disciplinary proceedings. And, of course, if the

government is unhappy with the result in a particular case, it may appeal.

        In this case, however, the President has opted to take a different approach and attack

lawyers not for their conduct but for their speech. This Court should not let him. As one writer put

it more than a decade ago, those who sign up to defend unpopular clients cannot be “marginalized,

silenced, demonized.” 19 Those who have litigated difficult cases are, instead, “fulfilling a basic

promise of America, which holds that every person and every cause gets their day in court.” 20

Amici States therefore strongly support Perkins Coie’s request for an order allowing it to represent

its clients freely and without fear of reprisal.




        19
          Carl M. Cannon, Paul Clement, DOMA and Legal Integrity, RealClearPolitics (May 2,
2011),               https://www.realclearpolitics.com/articles/2011/05/02/paul_clement_doma_
and_legal_integrity.html.
       20
          Id.

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                                     III.   CONCLUSION

       For the foregoing reasons, and those given in Plaintiff’s Motion for a Temporary

Restraining Order, Amici States respectfully request that the Court grant Plaintiff’s Motion.

       RESPECTFULLY SUBMITTED this 12th day of March, 2025.

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                             CERTIFICATE OF COMPLIANCE

       Pursuant to LCvR 7(o), I hereby certify that this brief conforms to the requirements of

LCvR 5.4, complies with the requirements set forth in Fed. R. App. P. 29(a)(4), and does not

exceed 25 pages in length.

       DATED this 12th day of March 2025.

                                           s/ Emma Grunberg
                                           EMMA GRUNBERG, WSBA 54659
                                            Deputy Solicitor General




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 12, 2025, I electronically filed the original of this brief with

the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all attorneys

of record by operation of the Court’s electronic filing system.

       DATED this 12th day of March 2025.

                                              s/ Emma Grunberg
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